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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 21-24036-CIV-ALTONAGA

  GUILLERMO GONZALEZ,

         Plaintiff,
  v.

  TELSEC CORP., et al.,

        Defendants.
  __________________________/

                                                ORDER

         THIS CAUSE came before the Court on the parties’ Joint Amended Motion for

  Approval of Settlement Agreement and Dismissal of Action with Prejudice [ECF No. 14], filed

  on December 27, 2021. The parties seek approval of their proposed Settlement Agreement

  [ECF No. 14-1], which includes a provision for the award of attorney’s fees. Upon review of the

  record and the parties’ documented basis for a settlement of this FLSA case, including an award

  of attorney’s fees and costs to Plaintiff, Guillermo Gonzalez’s counsel, the Court finds settlement

  of this action is fair and reasonable. Accordingly, it is

         ORDERED AND ADJUDGED as follows:

         1. The Joint Amended Motion for Approval of Settlement Agreement and Dismissal of

             Action with Prejudice [ECF No. 14] is GRANTED.

         2. The Settlement Agreement [ECF No. 14-1] between Plaintiff, Guillermo Gonzalez,

             and Defendants, Telsec Corp. and Manuel Jimenez, which has been duly filed as a

             record of the Court, is APPROVED in its entirety.

         3. This case is DISMISSED with prejudice, with each party to bear its own costs and

             attorney’s fees except as otherwise agreed.
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        4. All pending motions are DENIED as moot.

        5. The Court retains jurisdiction to enforce the terms of the Settlement Agreement and

           General Release.

        DONE AND ORDERED in Miami, Florida, this 28th day of December, 2021.




                                             _______________________________________
                                             CECILIA M. ALTONAGA
                                             CHIEF UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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